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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 11 B 10949
         Denis J Puttkammer
         Joyce I Puttkammer
                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 03/16/2011.

         2) The plan was confirmed on 06/23/2011.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Converted on 09/20/2012.

         6) Number of months from filing to last payment: 17.

         7) Number of months case was pending: 24.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor             $15,149.00
           Less amount refunded to debtor                            $0.00

 NET RECEIPTS:                                                                                     $15,149.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                  $2,000.00
     Court Costs                                                                $0.00
     Trustee Expenses & Compensation                                          $678.50
     Other                                                                      $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                   $2,678.50

 Attorney fees paid and disclosed by debtor:                      $0.00


 Scheduled Creditors:
 Creditor                                        Claim         Claim            Claim        Principal      Int.
 Name                                  Class   Scheduled      Asserted         Allowed         Paid         Paid
 Ally Financial                    Secured        5,044.00       3,550.80         3,550.80           0.00       0.00
 Asset Acceptance                  Unsecured      2,096.44       2,153.43         2,153.43           0.00       0.00
 Beta Finance Co                   Unsecured         524.55           NA               NA            0.00       0.00
 Capital One                       Unsecured      1,699.83       1,658.49         1,658.49           0.00       0.00
 Cavalry Portfolio Services        Unsecured         620.14        714.34           714.34           0.00       0.00
 CitiFinancial                     Unsecured      5,549.00            NA               NA            0.00       0.00
 City Of Chicago                   Unsecured         536.41        568.73           568.73           0.00       0.00
 Commonwealth Edison               Unsecured         158.38           NA               NA            0.00       0.00
 Cook County Treasurer             Secured        2,682.00       2,737.97         2,682.00      2,682.00      67.43
 Cook County Treasurer             Unsecured            NA          55.97            55.97           0.00       0.00
 Dr Paul Schmidt                   Unsecured          90.00           NA               NA            0.00       0.00
 Dr Paul Schmidt                   Unsecured          90.00           NA               NA            0.00       0.00
 Heart Care Centers Of Illinois    Unsecured         107.00           NA               NA            0.00       0.00
 HSBC                              Unsecured         650.11           NA               NA            0.00       0.00
 I C Systems Inc                   Unsecured         493.00        493.08           493.08           0.00       0.00
 ICS Collection Service            Unsecured         576.00           NA               NA            0.00       0.00
 ICS Collection Service            Unsecured          54.00           NA               NA            0.00       0.00
 Illinois Bell Telephone Company   Unsecured         111.06        111.06           111.06           0.00       0.00
 Internal Revenue Service          Priority       7,000.00       8,459.92         8,459.92      5,085.93        0.00
 Internal Revenue Service          Unsecured            NA          16.72            16.72           0.00       0.00
 Little Company Of Mary Hospital   Unsecured      5,333.00       4,906.86         4,906.86           0.00       0.00
 Oak Harbor Capital LLC            Unsecured      1,818.07       1,818.07         1,818.07           0.00       0.00
 Pales Community Hospital          Unsecured         363.00           NA               NA            0.00       0.00
 Pales Community Hospital          Unsecured         190.00           NA               NA            0.00       0.00
 Pales Community Hospital          Unsecured         982.00           NA               NA            0.00       0.00
 Peoples Energy Corp               Unsecured         565.39        480.61           480.61           0.00       0.00
 PLS Payday Loan Store             Unsecured      2,882.38       2,744.65         2,744.65           0.00       0.00
 PLS Payday Loan Store             Unsecured      5,763.78            NA               NA            0.00       0.00
 PLS Payday Loan Store             Unsecured      1,296.89            NA               NA            0.00       0.00
 PLS Payday Loan Store             Unsecured      1,296.89            NA               NA            0.00       0.00
 Portfolio Recovery Associates     Unsecured      9,902.18       9,711.51         9,711.51           0.00       0.00



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 Scheduled Creditors:
 Creditor                                          Claim           Claim         Claim        Principal       Int.
 Name                                    Class   Scheduled        Asserted      Allowed         Paid          Paid
 Portfolio Recovery Associates       Unsecured            NA           620.14        620.14           0.00        0.00
 Portfolio Recovery Associates       Unsecured      1,364.00         1,319.35      1,319.35           0.00        0.00
 Radiology Imaging Specialists LTD   Unsecured          27.00             NA            NA            0.00        0.00
 Springleaf Financial Services       Secured      270,643.14         4,635.14      4,635.14      4,635.14         0.00
 Stephen P Morris DDS                Unsecured         165.00             NA            NA            0.00        0.00
 Vijayalakshmi Thota                 Unsecured          30.00             NA            NA            0.00        0.00
 WFNNB/Dress Barn                    Unsecured          95.00             NA            NA            0.00        0.00


 Summary of Disbursements to Creditors:
                                                                   Claim            Principal                Interest
                                                                 Allowed                Paid                    Paid
 Secured Payments:
       Mortgage Ongoing                                          $0.00                 $0.00                  $0.00
       Mortgage Arrearage                                    $4,635.14             $4,635.14                  $0.00
       Debt Secured by Vehicle                                   $0.00                 $0.00                  $0.00
       All Other Secured                                     $6,232.80             $2,682.00                 $67.43
 TOTAL SECURED:                                             $10,867.94             $7,317.14                 $67.43

 Priority Unsecured Payments:
        Domestic Support Arrearage                                  $0.00              $0.00                  $0.00
        Domestic Support Ongoing                                    $0.00              $0.00                  $0.00
        All Other Priority                                      $8,459.92          $5,085.93                  $0.00
 TOTAL PRIORITY:                                                $8,459.92          $5,085.93                  $0.00

 GENERAL UNSECURED PAYMENTS:                                $27,373.01                   $0.00                $0.00


 Disbursements:

           Expenses of Administration                               $2,678.50
           Disbursements to Creditors                              $12,470.50

 TOTAL DISBURSEMENTS :                                                                              $15,149.00




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       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 03/14/2013                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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